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4    Telephone: (916) 922-2255
5
     Counsel for Defendant LEONARD YANG
6

7

8                           IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           Case No.: 2:16-cr-00189 KJM
12
                                Plaintiff,               STIPULATION AND ORDER FOR
13
                                                         TEMPORARY REMOVAL OF HOME
14   vs.                                                 ELECTRONIC ANKLE MONITOR TO
                                                         ALLOW TRAVEL
15   LEONARD YANG,
16                               Defendant.
17

18
                                              STIPULATION
19

20          LEONARD YANG, defendant herein, is presently released on bail in connection with the
21
     above-numbered case, and residing in Columbus, Ohio. He is being monitored by Pretrial
22
     Services Office for the Southern District of Ohio utilizing a home electronic ankle monitor (as
23
     authorized by Document 15, Special Conditions of Release, Clerk’s Record in the above-
24

25   numbered case which specifically authorizes that Mr. Yang be restricted to the Eastern District

26   of California and the Southern District of Ohio).
27
            In order for the defendant to travel from Columbus, Ohio to Sacramento, California for
28
     his Court appearance presently scheduled before the Honorable Kimberly J. Mueller, on
               Case 2:16-cr-00189-KJM Document 85 Filed 10/13/17 Page 2 of 3


1    Wednesday, October 18, 2017, it is necessary for the removal of the ankle monitor presently in
2
     place so that he can board a plane for the trip. The Pretrial Services Agency in Ohio will replace
3
     the ankle monitor with a new monitor immediately upon his return to that district. Mr. Yang
4
     further agrees that he will comply with all pretrial orders, and requirements of Pretrial Services,
5

6    and will make all required Court appearances as ordered. He will be traveling to Sacramento on

7    Sunday, October 14, 2017 and will return to Columbus, Ohio probably on Friday, October 20,
8
     2017, depending on scheduling with authorities and re-arraignment before the United States
9
     Magistrate/Judge for the Eastern District of California.
10
            IT IS HEREBY STIPULATED by and between the parties hereto, through their
11

12   respective undersigned counsel, that the Court may issue an Order that the ankle monitor

13   presently on the person of Mr. Leonard Yang, in the Southern District of Ohio, may be removed
14
     forthwith, allowing him to travel to Sacramento, California and conduct his court appearances
15
     and other legal matters and that he will report to the Pretrial Services Office for the Southern
16
     District of Ohio, and immediately upon his return where a new monitor will be placed as soon as
17

18   the Pretrial Services Office in The Southern District of Ohio is able to do so.

19   Dated: October 13, 2017
20
                                                           /S/ Robert M. Holley
21                                                         _______________________________
                                                           Mr. Robert M. Holley, Esq.
22                                                         Counsel for Mr. Yang
23

24                                                         /S/ Mr. Roger Yang, Esq. (by RMH)
                                                            _______________________________
25                                                         Mr. Roger Yang, Esq.
                                                           Assistant United States Attorney
26
                                                           Counsel for the United States
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1                                               ORDER
2
            In addition to the above, Mr. Leonard Yang is to check in with Sacramento Pre Trial
3    Services the first business day after his arrival in Sacramento.

4           GOOD CAUSE APPEARING, IT IS SO ORDERED.
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     Dated: October 13, 2017
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